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                                                             UNITED STATES BANKRUPTCY COURT
                                                              FOR THE DISTRICT OF DELAWARE


In re: The Wet Seal, LLC                                                                Case No. 17-10229
          Debtor                                                                        Reporting Period: 2/1/19 to 2/28/19


                                                                  MONTHLY OPERATING REPORT
                               File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                     Document    Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                        Form No.                   Attached     Attached         Attached
Schedule of Cash Receipts and Disbursements                                             MOR-1                            x
   Bank Reconciliation (or copies of debtor's bank reconciliations)                     MOR-1a                           x
   Schedule of Professional Fees Paid                                                   MOR-1b                           x
   Copies of bank statements
   Cash disbursements journals
Statement of Operations                                                                 MOR-2                           x
Balance Sheet                                                                           MOR-3                           x
Status of Postpetition Taxes                                                            MOR-4                           x
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                    MOR-4                           x
  Listing of aged accounts payable                                                      MOR-4                           x
Accounts Receivable Reconciliation and Aging                                            MOR-5                           x
Debtor Questionnaire                                                                    MOR-5                           x


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                 ______________________________
Signature of Debtor                                                                     Date


_______________________________________                                                 ______________________________
Signature of Joint Debtor                                                               Date


/s/ Caleb S. Patterson                                                                  29-Mar-19
Signature of Authorized Individual*                                                     Date


Caleb S. Patterson                                                                      Authorized Person
Printed Name of Authorized Individual                                                   Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.




                                                                                                                                                                MOR
                                                                                                                                                              (04/07)
                       Case
In re: The Wet Seal, LLC              17-10229-CSS            Doc 1025              Filed 03/29/19CasePage    2 of 8
                                                                                                       No. 17-10229
                                                                                                         Reporting Period: 2/1/19 to 2/28/19
                                    SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
FOR THE PERIOD FEBRUARY 1 TO FEBRUARY 28, 2019
In re: The Wet Seal, LLC

MOR -1
                                                                   The Wet Seal,     The Wet Seal Gift   Mador Financing,
                                                                       LLC              Card, LLC             LLC           Total Company


Cash Receipts
Cash and checks                                                              -                     -                  -               -
Credit card                                                                  -                     -                  -               -
Other (1)                                                                    154                   -                  -               154
  Total receipts                                                             154                   -                  -               154

Cash Disbursements
Payroll & 401k                                                                  1                  -                  -                  1
Rent                                                                          -                    -                  -                -
Sales Tax Remittance                                                          -                    -                  -                -
Freight & Distribution                                                        -                    -                  -                -
Admin                                                                         -                    -                  -                -
Insurance                                                                     -                    -                  -                -
Utilities                                                                     -                    -                  -                -
Other Operating Disbursements (1)                                              78                  -                  -                 78
  Total disbursements                                                          79                  -                  -                 79

   Net Operating Cash Flow                                                    75                   -                  -                75

Non-operating Professional Fees                                               22                   -                  -                22
  Total Non-operating disbursements                                           22                   -                  -                22
   Net Cash Flow                                                              54                   -                  -                54

Disbursements for calculating US Trustee Quarterly Fees:
Total disbursements                                                          100                   -                  -               100


(1) Includes $77,285.69 in February Preference receipts and disbursements.
In re The Wet Seal, LLC              Case 17-10229-CSS                              Doc 1025                Filed 03/29/19
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                                                                                                                            Reporting Period: 2/1/19 to 2/28/19

Schedule of Bank Accounts with Book Balances
In re The Wet Seal, LLC

                                                                             THE WET SEAL,        THE WET SEAL GIFT
Bank Account                                           CONSOLIDATED               LLC                 CARD, LLC              MADOR FINANCING, LLC
11151 Cash - A/P Expense Check (3184)                          64,865                 64,865                     -                             -
11253 Sponsor Reserve Cash                                     27,392                 27,392
                                                               92,257                 92,257                           -                             -

The above accounts have been reconciled in accordance with the Debtors' ordinary course accounting practices during the reported period.
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In re: The Wet Seal, LLC                                                     Case No. 17-10229
                                                                             Reporting Period: 2/1/19 to 2/28/19

                                                             SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                     This schedule is to include all retained professional payments from case inception to current month.

                                                               Amount                                            Check                         Amount Paid
                   Payee                Period Covered        Approved                 Payor              Number       Date                Fees       Expenses
DONLIN, RECANO & COMPANY, INC          2/2/17 - 2/28/17        101,069.68    THE WET SEAL, LLC              20979      3/24/2017          67,966.06     33,103.62
HILCO STREAMBANK                       2/2/17 - 3/8/17           5,726.67    THE WET SEAL, LLC               1505       4/7/2017               0.00       5,726.67
YOUNG CONAWAY STARGATT & TAYLOR, LLP   2/2/17 - 2/28/17        214,086.53    THE WET SEAL, LLC               1531      4/27/2017         210,457.60       3,628.93
FREJKA, PLLC                           2/17/17 - 4/15/17        15,008.12    THE WET SEAL, LLC               1565      5/18/2017          14,726.25         281.87
YOUNG CONAWAY STARGATT & TAYLOR, LLP   3/1/17 - 3/31/17        160,308.52    THE WET SEAL, LLC              12730      5/18/2017         145,690.00     14,618.52
COOLEY LLP                             2/13/17 - 3/31/17       172,372.80    THE WET SEAL, LLC              56729      6/16/2017         168,872.00       3,500.80
PROVINCE, INC                          2/13/17 - 3/31/17        49,934.15    THE WET SEAL, LLC              56731      6/16/2017          49,464.40         469.75
SAUL EWING, LLP                        2/14/17 - 3/31/17        18,918.62    THE WET SEAL, LLC              56730      6/16/2017          18,364.80         553.82
DONLIN, RECANO & COMPANY, INC          3/1/17 - 3/31/17          5,135.84    THE WET SEAL, LLC              03947      7/10/2017           5,135.84           0.00
DONLIN, RECANO & COMPANY, INC          4/1/17 - 4/30/17          1,160.48    THE WET SEAL, LLC              03948      7/10/2017           1,160.48           0.00
DONLIN, RECANO & COMPANY, INC          4/1/17 - 4/30/17         15,226.61    THE WET SEAL, LLC              03946      7/10/2017               0.00     15,226.61
YOUNG CONAWAY STARGATT & TAYLOR, LLP   5/1/17 - 6/30/17         38,071.05    THE WET SEAL, LLC              08251       8/8/2017          37,391.00         680.05
DONLIN, RECANO & COMPANY, INC          3/1/17 - 3/31/17         25,632.66    THE WET SEAL, LLC             010603      8/23/2017          20,689.84       4,942.82
DONLIN, RECANO & COMPANY, INC          5/1/17 - 5/31/17          8,097.93    THE WET SEAL, LLC             010611      8/23/2017           6,855.61       1,242.32
DONLIN, RECANO & COMPANY, INC          7/1/17 - 7/31/17          7,642.69    THE WET SEAL, LLC             010691      8/23/2017           6,614.80       1,027.89
DONLIN, RECANO & COMPANY, INC          6/1/17 - 6/30/17          7,502.15    THE WET SEAL, LLC             010689      8/23/2017           6,601.25         900.90
DONLIN, RECANO & COMPANY, INC          5/1/17 - 5/31/17            169.12    THE WET SEAL, LLC             010604      8/23/2017             169.12           0.00
DONLIN, RECANO & COMPANY, INC          6/1/17 - 6/30/17             95.36    THE WET SEAL, LLC             010690      8/23/2017              95.36           0.00
BERKELEY RESEARCH GROUP                2/2/17 - 6/30/17         76,280.47    THE WET SEAL, LLC             010081      8/25/2017          76,280.47           0.00
YOUNG CONAWAY STARGATT & TAYLOR, LLP   7/1/17 - 7/31/17         19,099.19    THE WET SEAL, LLC              08896      9/22/2017          18,545.60         553.59
DONLIN, RECANO & COMPANY, INC          8/1/17 - 8/31/17          6,915.81    THE WET SEAL, LLC             013296    10/11/2017            6,082.67         833.14
YOUNG CONAWAY STARGATT & TAYLOR, LLP   5/1/17 - 7/31/17         13,550.00    THE WET SEAL, LLC             015385    10/20/2017           13,550.00           0.00
DONLIN, RECANO & COMPANY, INC          5/1/17 - 6/30/17            459.24    THE WET SEAL, LLC             014957    10/20/2017              459.24           0.00
YOUNG CONAWAY STARGATT & TAYLOR, LLP   8/1/17 - 8/31/17         18,586.10    THE WET SEAL, LLC             007453    10/26/2017           18,549.20          36.90
YOUNG CONAWAY STARGATT & TAYLOR, LLP   9/1/17 - 9/30/17          9,160.11    THE WET SEAL, LLC             013088    11/15/2017            8,999.01         161.10
DONLIN, RECANO & COMPANY, INC          9/1/17 - 9/30/17          4,862.34    THE WET SEAL, LLC              01088      12/7/2017           4,363.68         498.66
DONLIN, RECANO & COMPANY, INC          10/1/17 - 10/31/17        9,738.50    THE WET SEAL, LLC              01088      12/7/2017           8,567.85       1,170.65
YOUNG CONAWAY STARGATT & TAYLOR, LLP   10/1/17 - 10/31/17        9,521.19    THE WET SEAL, LLC              58415    12/14/2017            9,458.80          62.39
CHOATE HALL & STEWART LLP              2/1/17 - 3/31/17         12,000.00    THE WET SEAL, LLC              01620    12/27/2017           12,000.00           0.00
YOUNG CONAWAY STARGATT & TAYLOR, LLP   8/1/17 - 11/30/17        20,396.60    THE WET SEAL, LLC             012541      1/22/2018          20,329.50          67.10
DONLIN, RECANO & COMPANY, INC          7/1/17 - 11/30/17         6,914.57    THE WET SEAL, LLC             012504      1/22/2018           5,687.55       1,227.02
DONLIN, RECANO & COMPANY, INC          12/1/17 - 12/31/17        6,252.51    THE WET SEAL, LLC             006690       2/8/2018           5,184.96       1,067.55
YOUNG CONAWAY STARGATT & TAYLOR, LLP   12/1/17 - 12/31/17        6,422.00    THE WET SEAL, LLC             010891      2/26/2018           6,320.00         102.00
DONLIN, RECANO & COMPANY, INC          1/1/18 - 1/31/18          6,843.23    THE WET SEAL, LLC             006866       3/8/2018           5,239.65       1,603.58
DONLIN, RECANO & COMPANY, INC          2/1/18 - 2/28/18          6,339.09    THE WET SEAL, LLC             010987      3/28/2018           5,364.54         974.55
YOUNG CONAWAY STARGATT & TAYLOR, LLP   1/1/18 - 1/31/18          6,270.65    THE WET SEAL, LLC             010770      3/28/2018           6,218.40          52.25
DONLIN, RECANO & COMPANY, INC          3/1/18 - 3/31/18          7,061.08    THE WET SEAL, LLC             006097      4/23/2018           6,332.28         728.80
DONLIN, RECANO & COMPANY, INC          4/1/18 - 4/30/18          6,330.31    THE WET SEAL, LLC             013294      5/31/2018           5,529.97         800.34
YOUNG CONAWAY STARGATT & TAYLOR, LLP   2/1/18 - 3/31/18          8,703.29    THE WET SEAL, LLC             007726       6/6/2018           8,644.00          59.29
DONLIN, RECANO & COMPANY, INC          5/1/18 - 5/31/18          8,989.94    THE WET SEAL, LLC             008414      6/28/2018           7,538.86       1,451.08
YOUNG CONAWAY STARGATT & TAYLOR, LLP   4/1/18 - 4/30/18          4,978.20    THE WET SEAL, LLC             008523      6/28/2018           4,942.40          35.80
DONLIN, RECANO & COMPANY, INC          6/1/18 - 6/30/18          7,039.00    THE WET SEAL, LLC             009814       8/2/2018           6,233.36         805.64
YOUNG CONAWAY STARGATT & TAYLOR, LLP   11/1/17 - 1/31/18         5,761.20    THE WET SEAL, LLC             010555      8/20/2018           5,761.20           0.00
YOUNG CONAWAY STARGATT & TAYLOR, LLP   2/1/18 - 4/30/18          3,396.60    THE WET SEAL, LLC             010555      8/20/2018           3,396.60           0.00
YOUNG CONAWAY STARGATT & TAYLOR, LLP   5/1/18 - 5/31/18          8,616.20    THE WET SEAL, LLC             010555      8/20/2018           8,586.80          29.40
YOUNG CONAWAY STARGATT & TAYLOR, LLP   6/1/18 - 6/30/18          4,308.97    THE WET SEAL, LLC             010555      8/20/2018           4,147.60         161.37
DONLIN, RECANO & COMPANY, INC          7/1/18 - 7/31/18          7,260.80    THE WET SEAL, LLC             008986      8/28/2018           6,295.89         964.91
DONLIN, RECANO & COMPANY, INC          8/1/18 - 8/31/18          6,264.20    THE WET SEAL, LLC             008247      10/3/2018           5,310.10         954.10
YOUNG CONAWAY STARGATT & TAYLOR, LLP   7/1/18 - 8/31/18         10,068.21    THE WET SEAL, LLC             013258      11/5/2018           9,885.60         182.61
DONLIN, RECANO & COMPANY, INC          9/1/18 - 9/30/18          4,098.32    THE WET SEAL, LLC             013146      11/5/2018           3,878.55         219.77
DONLIN, RECANO & COMPANY, INC          9/1/18 - 9/30/18          9,033.23    THE WET SEAL, LLC             007333    12/13/2018            9,009.63          23.60
YOUNG CONAWAY STARGATT & TAYLOR, LLP   10/1/18 - 10/31/18        3,386.80    THE WET SEAL, LLC             007266    12/13/2018            2,148.12       1,238.68
DONLIN, RECANO & COMPANY, INC          11/1/18 - 11/30/18        4,721.61    THE WET SEAL, LLC             004643      1/22/2019           3,924.98         796.63
YOUNG CONAWAY STARGATT & TAYLOR, LLP   11/1/18 - 11/30/18       10,575.50    THE WET SEAL, LLC             014575      2/20/2019          10,459.60         115.90
DONLIN, RECANO & COMPANY, INC          12/1/18 - 12/31/18        4,413.37    THE WET SEAL, LLC             014398      2/20/2019           3,539.62         873.75
DONLIN, RECANO & COMPANY, INC          1/1/19 - 1/31/19          6,624.81    THE WET SEAL, LLC             002614      2/27/2019           6,289.36         335.45




                                                                                                                                                                                   FORM MOR-1b
                                                                                                                                                                                         (04/07)
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                                                                       MOR 2



In re: The Wet Seal, LLC                                                  Case No. 17-10229
               Debtor                                                     Reporting Period: 2/1/19 to 2/28/19

                                        STATEMENT OF OPERATIONS
                                                    (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.


                                                                                                     The Wet Seal Gift        Mador Financing,
                                                    Consolidated           The Wet Seal, LLC            Card, LLC                  LLC
(In thousands)                                        Actual                    Actual                    Actual                  Actual
Sales                                                              -                      -                         -                       -

Cost of Sales                                                      -                         -                         -                    -
 Buying                                                            -                         -                         -                    -
 Planning/Allocation                                               -                         -                         -                    -
 Warehouse                                                         -                         -                         -                    -
 Occupancy                                                         -                         -                         -                    -
  Total Cost of Sales                                              -                         -                         -                    -
Gross Profit                                                       -                         -                         -                    -

Gross Profit (Retail)                                              -                         -                         -                    -

S,G & A
 Selling-Store Expense                                             -                         -                         -                    -
 Selling-Field Support                                             -                         -                         -                    -
 Gen & Admin Expense                                               100                       100                       -                    -
Total S,G&A Expenses                                               100                       100                       -                    -

Operating Income                                                  (100)                     (100)                      -                    -

Other Income                                                        77                        77                       -                    -
Inc(Loss) B4 Tax                                                   (23)                      (23)                      -                    -

Inc Tax Provision (Benefit)                                        -                         -                         -                    -
Net Loss                                                           (23)                      (23)                      -                    -




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In re: The Wet Seal, LLC                                                                   Case No. 17-10229
                      Debtor                                                               Reporting Period: 2/1/19 to 2/28/19

                                                                     BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                                       The Wet Seal Gift         Mador Financing,
                                                                      Consolidated          The Wet Seal, LLC             Card, LLC                   LLC
(In thousands)                                                          Actual                   Actual                     Actual                   Actual
Assets

Current Assets:
 Cash And Cash Equivalents                                                            92                         92                       -                    -
 Other Receivables                                                                   -                          -                         -                    -
 Prepaid Expenses                                                                    -                          -                         -                    -
  Total Current Assets                                                                92                        92                        -                    -

Equipment And Leasehold Improvements:
 Leasehold Improvements                                                              -                          -                         -                    -
 Furniture, Fixtures And Equipment                                                   -                          -                         -                    -
 Less Accumulated Depreciation                                                       -                          -                         -                    -
  Net Equipment And Leasehold Improvements                                           -                          -                         -                    -

Other Assets:
 Other Assets and CEO Retirement Plan                                                438                       438                        -                    -
 Goodwill, Net of Accumulated Amortization                                         4,000                     4,000                        -                    -
  Total Other Assets                                                               4,438                     4,438                        -                    -
Total Assets                                                                       4,530                     4,530                        -                    -



Liabilities And Stockholders' Equity

Current Liabilities:
 Accounts Payable-Merchandise
  Subject to compromise (Pre-petition)                                             3,695                     3,695                        -                    -
  Not subject to compromise (Post-petition)                                          -                         -                          -                    -
 Accounts Payable
  Subject to compromise (Pre-petition)                                             6,272                     6,272                        -                    -
  Not subject to compromise (Post-petition)                                          160                       160                        -                    -
 Accrued Liabilities
  Subject to compromise (Pre-petition)                                               651                       651                        -                    -
  Not subject to compromise (Post-petition)                                          -                         -                          -                    -
  Total Current Liabilities                                                      10,778                     10,778                        -                    -

Long Term Liabilities:
 Term Loan                                                                          536                        536                        -                    -
 Members' Debt                                                                   15,600                     15,600                        -                    -
  Total Long Term Liabilities                                                    16,136                     16,136                        -                    -
Total Liabilities                                                                26,914                     26,914                        -                    -

Stockholders' Equity:
 Paid-In Capital                                                                 41,750                     41,750                        -                    -
 Retained Earnings                                                              (64,111)                   (64,111)                       -                    -
 Current Period Earnings                                                            (23)                       (23)                       -                    -
  Total Stockholders' Equity                                                    (22,384)                   (22,384)                       -                    -
Total Liabilities And Stockholders' Equity                                         4,530                     4,530                        -                    -
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In re: The Wet Seal, LLC                                               Case No. 17-10229
                Debtor                                                 Reporting Period: 2/1/19 to 2/28/19

                                                       STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                        Beginning         Amount                                                                  Ending
                                                          Tax            Withheld or          Amount               Date           Check No.         Tax
                                                        Liability         Accrued              Paid                Paid            or EFT         Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes                                                       -                 -                  -                  -                   -           -

The Debtors continue to pay postpetition taxes as they become due and to the best of my knowledge, no postpetition tax amounts are past due.

                                               SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                             Number of Days Past Due
                                                    Current            0-30               31-60         61-90          Over 90        Total
Accounts Payable                                                                        0             0              0        159,983                159,983
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other:
Other:__________________________
Total Postpetition Debts                                                                0                  0                  0         159,983       159,983




*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                    FORM MOR-4
                                                                                                                                                         (04/07)
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In re: The Wet Seal, LLC                                                                           Case No. 17-10229
Debtor                                                                                             Reporting Period: 2/1/19 to 2/28/19


                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                          Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging (Excluding credit card receivables)                                               Amount
0 - 30 days old
31 - 60 days old
61 - 90 days old
91+ days old
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                               DEBTOR QUESTIONNAIRE

Must be completed each month                                                                           Yes           No
1. Have any assets been sold or transferred outside the normal course of business                                    x
   this reporting period? If yes, provide an explanation below.



2. Have any funds been disbursed from any account other than a debtor in possession                                  x
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation                   x
   below.
4. Are workers compensation, general liability and other necessary insurance                                         x
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide                                     x
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.




                                                                                                                                         FORM MOR-5
                                                                                                                                              (04/07)
